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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
                                                                    JU0GE BLAIGY
                                                            htAGfflTNATE J[JI,'GE IYETSMAT{
 UNITED STATES OF AMERICA                   No. 18 CR 696

               V.                          Violation: Title 18, United States Code,
                                            Sections 371, 1030, and 23398(aX1)
 ASHRAF AL SAFOO,
  alkla Abu AI'-Abbas Al-Iraqi,             SECOND
  alkla Abu Shanab,                         SUPERSEDING INDI CTMENT
  alkla Abbusi

                                                                AF TLED
                                       COUNT ONE
                                                                      MAR   I 2 202fi
      The SPECIAL MAY 2OI|GRAND JURY charges:

      1.     At times material to this indictment:             C,Eff?,I$BEff;,i8U,*,

             a.     ASHRAF AL SAFOO, alkla Abu Al'-Abbas AI-Iraqi, a/k/a Abu

Shanab, alklaAbbusi, was a resident of Chicago.

                                        /s/s
      2.     On or about October 15, 2004, the United States Secretary of State

designated al-Qa'ida   in Iraq, then known as Jam'at al Tawhid wa'al-Jihad, as a
foreign terrorist organization under Section 2Lg ofthe Immigration and Natior[ality

Act and as a Specially Designated. Global Terrorist und.er section 1(b) of Executive

Order 13224.

      3.     On or about May 15, 20t4, the Secretary of State amended. the
designation of al-Qa'ida in Iraq as a foreign terrorist organization under Section 219

of the Immigration and Nationality Act and as a Specially Designated Global
Terrorist entity under section 1ft) of Executive Ord.er 13224to add the alias Islamic
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State of Iraq and the Levant as its primary name. The Secretary also added the

following aliases to the foreign terrorist organization listing: The Islamic State of Iraq

and al-Sham, the Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya            fi al-Iraq

wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furquan Establishment for Media

Production.

        4.    On or about September 21, 2015, the Secretary of State added the

following aliases to the foreign terrorist organization listing: Islamic State, ISIL, and

ISIS.

        5.    On or about March 21,20t9, the Secretary of State added the following

aliases to the foreign   terrorist   organiza*uion   listing: Amaq News Agency and Al Hayat

Media Center.

                               Kh att ab Me di a F o un    d   ation

        6.    Khattab Media Foundation ("Khattab") was                   an   internet-based

organization dedicated to the creation and dissemination of pro-ISIS information,

including edited video content and infographics created through the use of video and

photo editing and other similar sofbware. Khattab used a unique logo to identi$,

certain products it created and disseminated.

        7.    Khattab had sworn bayat, or an oath of allegiance, to ISIS's then-leader

Abu Bak'r Al-Baghdadi.

        8.    Khattab posted its pro-ISIS videos, articles and infographics across

multiple social media platforms including T\witter, Facebook, and YouTube.
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                                       Twitter
      9.     Twitter, Inc. ("Twitter") was a microblogging and social networking

service based   in California. A TWitter account   could be created by a user providing

an email address or telephone number. The registered email address could be used to

reset the Twitter password by requesting that Tlvitter send a password reset link to

the email address.

                                      Hotmail

      10.    Hotmail was a free email service provider. Hotmail email addresses

could be used to create TWitter accounts.

                            Social Media Application A

      11.    Social Media Application       A was a mobile and desktop messaging
application. Social Media Application A allowed users to communicate with each

other in chat rooms called groups. Groups could be set up as private, and only

approved users could get access to private groups.

      L2.    Beginning no later than in or about June 20t7, and continuing until at

Ieast on or about October 13, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                               ASHRAF AL SAFOO,
            alkla Abu Al'-Abbas A1-Iraqi, a/k/a Abu Shanab, alkla Abbusi,

defendant herein, together with others known and unknown, knowingly conspired to

provide material support and resources, namely, services, to a foreign terrorist

organization, namely, the Islamic State of Iraq and       al Sham, knowing that the
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organization was    a   designated foreign terrorist organization, and     that the
organization had engaged in and was engaging in terrorist activity and terrorism;

      In violation of Title 18, United States Code, Section 2339B(a)(1).
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                                    COUNT TWO
      The SPECIAL MAY 2019 GRAND JURY further charges:

       1.    The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

      2.     Co-Conspirator    A, Co-Conspirator B, Co-Conspirator C, and Co-
Conspirator D were members of Khattab and used Social Media Application A to

communicate with other Khattab members, including defendant.

      3.     Beginning no later than in or around June 2077,and continuing until at

least on or about October 13, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                               ASHRAF AL SAFOO,
            alkla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

defendant herein, did conspire with Co-Conspirator A, Co-Conspirator B, and with

others known and unknown, to knowingly and willfully transmit             in   interstate

commerce communications containing threats        to injure the person of another, in
violation of Title 18, United States Code, Section 875(c).

      4.     It was part of the conspiracy that Khattab members, including
defendant, Co-Conspirator A, Co-Conspirator B, and others, caused to be created and

created videos and infographics that contained threats to injure others, sometimes

referencing ISIS, directed towards citizens of different countries to include the United

States, the United Kingdom, France, Australia, Russia and Iraq.

      5.     It was further part of the conspiracy that members   of Khattab, includ.ing

defendant, Co-Conspirator A, Co-Conspirator B, and others, communicated on Social



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Media Application A, including in private groups, regarding videos and infographics

that contained threats to others and the objectives in creating these videos           and

infographics.

       6.       It was further part of the conspiracy that members of Khattab, including

defendant, Co-Conspirator A, Co-Conspirator B, and others worked to d.istribute the

videos and infographics to the public through various social media platforms.

       7.       It   was further part of the conspiracy that defendant and others

concealed, misrepresented, and hid, and caused to be concealed, misrepresented, and

hidden, the existence, purpose, and acts done in furtherance of the conspiracy.

       8.       In furtherance of the conspiracy and to accomplish its      objectives and

purposes, defendant and others committed and caused to be committed the following

overt acts:

                a.     Between June 2017 and October 2018, Khattab members

communicated on Social Media Application A regarding videos and infographics that

contained threats to injure others.

                b.     In or around August 2017, in        response   to another Khattab
member's comment, in Arabic, to "Create a subject, to talk to the infidet nations that

are targeted by the State," Co-Conspirator A wrote, in Arabic,            in   Social Media

Application A, "Yes,      I   agree   with you, a small release that doesn't surpass   five

minutes, made of two parts, the first to incite the Muslims to respond and punish the

citizens of the Crusader states, avenging the Muslims in the Islamic State, and show

clips of the Cross worshippers' crimes through it, whether      it   was bombings or other




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things. And the second part is to send a message to the Cross worshipping citizens

that they wiII not enjoy or dream of safety as long as their governments are fighting

the Islamic State."

               c.     On or about September 26, 2017, in response to a Khattab

member's comment, in Arabic, on Social Media Application A, "State [ISIS] fighters

take control of most of University of AI-Anbar [Iraq] buildings," defendant wrote, in

Arabic, "Post it, brothers, to cause confusion and spread terror within the hearts of

those who disbelieved."

               d.     On or about September 26, 2077,           in response to a Khattab
member's comment on Social Media Application A regarding ISIS's control over areas

around Al Ramadi in Iraq, d.efendant wrote, in Arabic, "We must spread fear among

them, brothers. Access their media pages, Western #Al-Ramadi areas."

               e.     In or around October 2017, Khattab created an infographic which

stated   in English "Las Vegas" and which stated, in Arabic, "America has drowned
and. there   is no rescuer . . . And   it   has become a prey for the Caliphate soldiers in

every corner of Earth." Co-Conspirator              B   directed the Khattab members to

"disseminate brothers" and defendant responded, in Arabic, by stating "There must

be a release...AII the foundations made releases."

               f.     On or about October 8, 2077 , Khattab created and distributed on

the internet an infographic depicting the Las Vegas shooter which contained Arabic

writing and stated, in English, "The Las Vegas Conquest."
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              g.     On or about December 14, 20L7, Co-Conspirator B posted on

Social Media Application A, the following message in Arabic,        'A   message to all the

followers, especially the designers:     I   advise you to master your work and increase

designs. By Allah, it's a blaze that   will devour the cross worshippers. Don't forget you

are the ones who represent the Islamic State on the Internet, so present        it in a fine
way and teruorize Allah's enemies. Don't belittle your support for us because its

impact is more intense than arrows."

             h.     On or about December 26,20L7, Khattab created and distributed

on the internet a video titled "Our gifts are ready." The video stated "Now listen you

dogs of hell. This is a message and more are going to follow. This is just the beginning.

Our gifts are now ready." The video shows a present under a Christmas tree that

contains a bomb with a timer ticking down before cutting to a video of a mass

shooting. The video then uses animation to show families standing around the

Christmas tree. Standing behind them is a person dressed in aII black and holding

what appears to be a detonator. As he raises the detonator, the video flashes to

various landmarks and cities, including: Ber1in, Brusse1s, London, Moscow, New

York, Paris, and Sydney. The soldier then detonates the bomb and the video is

engulfed in flames. The video ends with the Khattab logo.

             i.     In or around December 20L7, Khattab created and distributed on

the internet an infographic of a headless Santa Claus sitting in a rocking chair next

to a Christmas tree holding his own head and with the message, in Arabic, "New




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design# Khattab Media Foundation: Soon# the presents of the Caliphate State." The

infographic says, in English and Arabic, "The Khilafahs presents are on their way."

              j.       On or about August 3, 2018, Co-Conspirator B, in Arabic, directed

the other members of Khattab on Social Media Application A to "prepare a campaign

that takes into consideration the following points: Threat letters for the Islamic State

enemies   that     it is continuing to deliver its promise of extracting apostasy and
defection."

              k.       On or about September 11, 2018, Co-Conspirator B directed other

members of Khattab, on Social Media Apptication A, to post a Khattab created

infographic depicting the World Trade Center buildings on fi"re, with the message, in

English, "Our upcoming terror will make you forget the horrors you saw in New Yoek

and Washington raids!"

              l.       A Khattab created infographic, which was kept on defendant's
phone and dated on the phone in or around September 2018, depicted a plane flying

into the Wor1d Trade Center buildings with the message, in English, "We have by

Allah's grace made you forget the horrors of Washington and New York raids, and

today, we remind you of them and promise you a terrorism, which          will make you
forget the most precious thing that you have."




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             m. A Khattab created infographic,       which was kept on defendant's

phone and dated on the phone in or around October 2018, d.epicted a purported ISIS

fighter looking over a smoldering city, with the message, in English, "State of the

Caliphate Islamic State The future will be bitter and worse. We will water the earth

with your blood. Prepare your coffins. And dig your graves."

      In violation of Title 18, United States Code, Section 371.




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                                     COUNT THREE
       The SPECIAL MAY 2019 GRAND JURY further charges:

       1.     The allegations in paragraphs      1   through 11 of Count One and paragraph

2 Count Two of this superseding indictment are incorporated here.

       2.     Beginning no later than in or about April 2018, and continuing until at

least on or about October 13, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

defendant herein, did conspire with Co-Conspirator C, Co-Conspirator D, and others

known and unknown to intentionally access a protected computer used in interstate

and foreign commerce without authorization, and thereby obtained information from

a protected computer,     with the offense being committed in furtherance of a criminal

act in violation of the laws of the United States, specifically Title 18, United States

Code, Section 23398,     in violation of Title 18, United States Code, Section 1030(a)(2)

and (c)(2)(Bxiii).

       3.     It     was part of the conspiracy that Khattab members sought to

disseminate information on behalf of ISIS using Twitter.

       4-     Khattab members were aware that social media accounts, including

Tlvitter accounts, used to promote ISIS, violence, or terrorism were often suspended

or closed by Twitter.

       5.     It was further part of the conspiracy that Khattab members shared
information related to "seizing" or "hacking" social media accounts, including Tlvitter



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accounts, in order to disseminate information promoting ISIS, violence, and terrorism

and to avoid or delay having their social media accounts suspended or closed after

the information was disseminated.

       6.     It    was further part of the conspiracy that Khattab members created

accounts on Hotmail as a means to reset passwords for Twitter Accounts registered

to third parties.

       7.     It    was further part of the conspiracy that defendant and others

concealed, misrepresented, and hid., and caused to be concealed, misrepresented, and

hidden, the existence, purpose, and acts done in furtherance of the conspiracy

                                         Overt Acts

       8.     In furtherance of this conspiracy, and to accomplish its objectives and

purposes, defendant AL SAFOO and others, committed and caused to be committed

the following overt acts, among others:

              a.       On or about   April 12,20L8, Co-Conspirator   C member posted,   in

Arabic, on Social Media Application A, "seize [a Twitter account], it is better because

[the account] stays with you longer." He then posted instructions, via a video link, to

register Hotmail accounts in order to gain unauthorized access to Twitter accounts

and wrote, in Arabic, "this technique is only for the supporters of the Caliphate."

              b.       On May 1, 2018, defendant posted a link in a Khattab chat room

to a video titled, in Arabic, "Stealing Twitter Accounts.

              c.       On or about June 6, 2018, Co-conspirator D posted on Social

Media Application A, in Arabic, "Does anyone need seized Twitter accounts?"




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             d.    In or around and between August 2018 and October 2019,
defendant possessed a video titled, in Arabic, "How to Seize Twitter accounts through

a Hotmail available in (Taking over Tlvitter accounts) channel."

             e.    In or around and between August 2018 and October 2018,
defendant saved. information to his iPhone related to Tkitter accounts that he

accessed or attempted to access   without authorization.

            f.     In or around and between August 2018 and October 2018,
defendant attempted to access Tlvitter accounts without authorization.

             g.    On or about September 16, 2018, defendant accessed Twitter

Account B without authorization.

            h.     On or about      Septembe    r   17, 20L8, and September 19,   2O\8,

defendant accessed Twitter Account D without authorization.

            i.     On or about September 20, 20L8, defendant accessed Twitter

Account A without authorization.

            j.     On or about September 25, 2018, defendant accessed Twitter

Account C without authorization.

      In violation of Title 18, United States Code, Section 371.




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                                    COUNT FOUR
       The SPECIAL MAY 2Ol9 GRA.ND JURY further charges:

       1.     The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

       2.     On or about September 16, 2018, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas AI-Iraqr, alkla Abu Shanab, alHa Abbusi,

defend.ant herein, intentionally accessed a protected. computer used in interstate and

foreign commerce without authorization, and thereby obtained information from           a

protected computer, through Twitter Account A, with the offense being committed in

furtherance of a criminal act in violation of the laws of the United States, specifically

Tit1e 18, United States Code, Section 2339B(a)(1);

       In   violation of Title 18, United States Code, Section 1030(a)(2)(C) and

1030(c)(2)(B)(ii).




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                                      COUNT FIVE
      The SPECIAL MAY 2019 GRAND JURY further charges:

      1.      The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

      2.      On or about and between September 16, 2018 and September 17, 20L8,

in the Northern District of Illinois, Eastern Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas AI-Iraqi, alWa Abu Shanab, alkla Abbusi,

defendant herein, knowingly provided and attempted to provide material support and

resources, namely, services through Twitter Account A, to the Islamic State of Iraq

and aI Sham, knowing that     it   was designated a foreign terrorist organization and

that the organization had engaged in and was engaging in terrorist activity and
terrorism;

      In violation of Title 18, United States Code, Section 2339B(a)(1).




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                                      COUNT SD(
         The SPECIAL MAY zOLg GRAND JURY further charges:

         1.    The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

         2.    Between    on or around September 17, 20L8, and on or               about

September 19, 20L8,     in the Northern District of Illinois, Eastern Division,      and

elsewhere,

                                 ASHRAF AL SAFOO,
              alkla Abu Al'-Abbas AI-Ira qi, akla Abu Shan ab, alUa Abbusi,

defendant herein, intentionally accessed a protected computer used in interstate and

foreign commerce without authorization, and thereby obtained information from a

protected computer, through Twitter Account B, with the offense being committed in

furtherance of a criminal act in violation of the laws of the United States, specifically

Title   18, United States Code, Section 23398(a)(1);

        In violation of Title   18, United States Code, Sections 1030(a)(2)(C) and

1030(c)(2)(B)(ii).




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                                    COUNT SEVEN
      The SPECIAL MAY 20tg GRAND JURY further charges:

      1.      The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

      2.      On or about and between September 17, 2018 and September 19, 2018,

in the Northern District of lllinois, Eastern Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu AI'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

defendant herein, knowingly provided and attempted to provide material support and

resources, namely, services through Twitter Account B, to the Islamic State of Iraq

and al Sham, knowing that     it   was designated a foreign terrorist organization and

that the organization had engaged in and was engaging in terrorist activity and
terrorism;

      In violation of Title 18, United States Code, Section 23398(a)(1).




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                                       COUNT EIGHT

         The SPECIAL MAY XOILGRA.ND JURY further charges:

         1.    The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

         2.    On or about September 20, 2018, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                 ASHRAF AL SAFOO,
              alkla Abu AI'-Abbas Al-Iraqt, alkla Abu Shanab, alkla Abbusi,

defend.ant herein, intentionally accessed a protected computer used in interstate and

foreign commerce without authorization, and thereby obtained information from a

protected computer, through Twitter Account C, with the offense being committed in

furtherance of a criminal act in violation of the laws of the United States, specifically

Title   18, United States Code, Section 2339B(aX1);

        In violation of Title   18, United States Code, Sections 1030(a)(2)(C) and

1030(c)(2)(BXii).




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                                      COUNT NINE
      The SPECIAL MAY 20tg GRAND JURY further charges:

      1.      The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

      2.      On or about and between September 20, 2018 and September 25,20t8,

in the Northern District of Illinois, Eastern Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

defendant herein, knowingly provided and attempted to provide material support and

resources, namely, services through Twitter Account C, to the Islamic State of Iraq

and al Sham, knowing that     it   was designated a foreign terrorist organrzation and

that the organization had engaged in and'was engaging in terrorist activity and

terrorism;

      In violation of Title 18, United States Code, Section 23398(a)(1).




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                                         COUNT TEN
       The SPECIAL MAY 2019 GRAND JURY further charges:

       1.     The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

       2.     On or about September 25, 2018, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                     ASHRAF AL SAFOO,
             alkl a Abu Al'-Abb as   Al-Ira qi, alkl a Ab u Shan ab, alkl a Abbusi,

defendant herein, intentionally accessed a protected computer used in interstate and

foreign commerce without authorization, and thereby obtained information from a

protected computer, through Twitter Account D, with the offense being committed in

furtherance of a criminal act in violation of the laws of the United States, specifically

Title 18, United States Code, Section 2339B(a)(1);

       In violation of Title    18, United States Cod.e, Sections 1030(aX2XC) and

1030(c)(2)(B)(ii).




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                                    COUNT ELEVEN
      The SPECIAL MAY 20Lg GRAND JURY further charges:

      1.      The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

      2.      On or about and between September 25,2018 and October 7,2018, in

the Northern District of Illinois, Eastern Division, and elsewhere,

                               ASHRAF AL SAFOO,
             alklaAbu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

defendant herein, knowingly provided and attempted to provide material support and

resources, namely, services through Twitter Account D, to the Islamic State of Iraq

and al Sham, knowing that     it   was designated a foreign terrorist organization and

that the organization had engaged in and was engaging in terrorist activity and
terrorism;

      In violation of Title 18, United States Code, Section 2339B(aX1).
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                                 COUNT TWELVE
      The SPECIAL MAY 2019 GRAND JURY further charges:

      3.     The allegations   in   paragraphs 1 through   4 of Count One of this
superseding indictment are incorporated here.

      4.     On or about August 27 ,2018, in the Northern District of   lllinois, Eastern

Division, and elsewhere,

                              ASHRAF AL SAFOO,
           alkla Abu AI'-Abbas Al-Iraqt, alkla Abu Shanab, alklaAbbusi,

defendant herein, knowingly provided and attempted to provide material support and

resources, namely, money to the Islamic State of Iraq and al Sham, knowing that        it
was designated a foreign terrorist organization and that the organrzation had

engaged in and was engaging in terrorist activity and terrorism;

      In violation of Title 18, United States Code, Section 2339B(aX1).




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                           FORFEITURE ALLEGATION

             The SPECIAL MAY 2019 GRAND JURY further charges:

              1.    Upon conviction of an offense in violation of Title 18, United

States Code, Sections 1030(a)(2)(C) and 1030(c)(2)(B)(ii), as set forth           in   this

indictment, defendant shall forfeit to the United States of America:

             a.     any property constituting and derived from proceeds obtained

directly and indirectly as a result of the offense, as provided in Title 18, United States

Code, Sections 982(a)(2)(B) and 1030(i)(1)(B); and

             b.     any personal property used and intended to be used to commit

and to facilitate the commission of the offense, as provided in Title 18, United States

Code, Section 1030(i)(1)(A).

      2.     The property to be forfeited includes, but is not limited to:

             a.     Apple iPhone 6, Model 41549, IMEI 354444O6525L649, and

             b.     Silver Enermax Computer Tower SIN: 13050210488.




                                                       A TRUE BILL:



                                                       FOREPERSON


UNITED STATES ATTORNEY




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